      Case 2:04-cr-00214-WHA-KFP Document 384 Filed 07/03/08 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA                          )

vs.                                               )   CR. NO. 2:04cr214-WHA-04
                                                              (WO)
ANCELMO GOMEZ, JR.                                )


                                             ORDER

       This case is before the court on a CJA-20 voucher, containing a claim for services and

expenses, the attorney’s certification being dated 11/16/04. This document was received by the

court with a letter from Ms. Kelim dated March 10, 2008 which stated: “Attached please find a

copy of my CJA-20 and all attachments as previously submitted in this case.” While the

attorney’s certification is dated 11/16/04, and Ms. Kelim’s letter stated that this was a copy of

what had previously been submitted in this case, the records of the court show no such

submission before the letter of March 10, 2008.

       On June 2, 2008, the court entered an order (Doc. #379) pointing out that no claim for an

attorney’s fee had previously been filed, that the Guide to Judiciary Policies and Procedures,

Volume VII, Section A, Chapter 2, Part C, 2.21 requires that vouchers be submitted no later than

45 days after the final disposition of the case, unless good cause is shown, and giving Ms. Kelim

until June 12, 2008 to show cause by sworn affidavit why the court should not deny her claim as

being untimely filed. Although the order noted that this claim was filed nearly three years after

the case was closed on March 23, 2005, the court notes further that it was filed over three years

after Ms. Kelim moved to withdraw (Doc. #80) on December 23, 2004.
      Case 2:04-cr-00214-WHA-KFP Document 384 Filed 07/03/08 Page 2 of 3




       After being granted a brief extension of time, Ms. Kelim filed her response, with affidavit

attached, on June 16, 2008. Although the CJA voucher which was submitted was dated

11/16/04, and although Ms. Kelim’s letter of March 10, 2008 stated that it was a copy of a form

previously submitted in this case, Ms. Kelim’s affidavit includes no such contention. Therefore,

the court finds that this claim for an attorney’s fee for services which ended on November 16,

2004, was not filed with the court until March 10, 2008.

       It is essential to the efficient operation of the system which allows payment of federal

funds to private attorneys appointed to represent indigent defendants that attorneys who seek and

accept such appointments, with the expectation of payment, submit their vouchers claiming such

payment in a timely manner. Budgeting and the availability of funds to cover fees for appointed

lawyers would be completely unworkable if lawyers were allowed to claim and receive payments

years after cases are closed. It is for that reason that a deadline of 45 days after the final

disposition of a case is set for the submission of such vouchers, in the absence of good cause

being shown for doing otherwise. Lawyers who seek and accept such appointments, as Ms.

Kelim did, are, therefore, expected to help with the efficient operation of the system, rather than

to hinder it. Good cause for late filings must contemplate unusual circumstances, and not lack of

diligence on the part of the attorney, for short delays and truly extreme circumstances to justify a

delay as lengthy as that in this case.

       After a careful examination of the entire file in this case, and of Ms. Kelim’s affidavit,

the court finds no good cause to justify the lengthy delay in the filing of this claim for an

attorney’s fee and, therefore, it is hereby




                                                   2
     Case 2:04-cr-00214-WHA-KFP Document 384 Filed 07/03/08 Page 3 of 3




      ORDERED that the claim for attorney’s fees contained in the CJA-20 voucher filed by

Kyla Groff Kelim on March 10, 2008, is DENIED.

      DONE this 3rd day of July, 2008.



                                         /s/ W. Harold Albritton
                                         W. HAROLD ALBRITTON
                                         SENIOR UNITED STATES DISTRICT JUDGE




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